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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO


THE UNITED STATES OF AMERICA
                        Plaintiff,
                                                                    Case No. 4:22-cv-00444
                   v.
CITY OF DRIGGS, IDAHO and                                               COMPLAINT
STATE OF IDAHO,
                        Defendants.



       Plaintiff the United States of America, by the authority of the Attorney General of the

United States and acting at the request of the Administrator of the United States Environmental

Protection Agency (“EPA”), files this Complaint and alleges as follows:

                                      NATURE OF THE ACTION

       1.       This is a civil action for injunctive relief and civil penalties brought against the

City of Driggs, Idaho (the “City”) pursuant to Sections 309(b) and (d) of the Federal Water

Pollution Control Act (“Clean Water Act” or “CWA”), 33 U.S.C. §§ 1319(b) and (d), for the

City’s illegal discharges of pollutants in violation of Section 301(a) of the CWA, 33 U.S.C. §


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1311(a), including for violations of conditions established in the City’s National Pollutant

Discharge Elimination System (“NPDES”) permit issued under Section 402 of the CWA, 33

U.S.C. § 1342. This action involves violations relating to the City’s separate sanitary sewer

system.

                                 JURISDICTION AND VENUE

       2.       This Court has jurisdiction over the subject matter of this action pursuant to

Section 309(b) of the CWA, 33 U.S.C. § 1319(b), and 28 U.S.C. § 1331, 1345, and 1355.

       3.       The United States has authority to bring this action on behalf of the Administrator

of EPA (“Administrator”) under Section 506 of the CWA, 33 U.S.C. § 1366, and 28 U.S.C.

§ 516, 519.

       4.       Venue is proper in the District of Idaho pursuant to 28 U.S.C. § 1391(b) and

1395(a), and Section 309(b) of the CWA, 33 U.S.C. § 1319(b), because it is the location where

the Defendants are located and where the claims arose.

                                          DEFENDANTS

       5.       The City is a political subdivision of the State of Idaho and a “municipality” and a

“person” within the meaning of Sections 502(4) and (5) of the CWA, 33 U.S.C. § 1362(4) and

(5).

       6.       The City owns and is responsible for the operation and maintenance of a

wastewater treatment plant (“WWTP” or “Facility”), and its associated sewage collection

system.

       7.       The sewage collection system, which conveys wastewater and solids to the

WWTP, consists of sewers, manholes, and other associated appurtenances (collectively the




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“Sewage Collection System”). The WWTP treats domestic sanitary waste and wastewater from

commercial establishments.

         8.       The WWTP serves a population of approximately 1,984 within the City. The

Facility also accepts sewage from the City of Victor (“Victor”) and various unincorporated

portions of Teton County, pursuant to an inter-city agreement, for a total service population of

approximately 5,573.

         9.       The WWTP discharges effluent from the Facility to Woods Creek, which flows to

the Pacific Ocean via the Teton River, Henry’s Fork, the Snake River, and the Columbia River.

         10.      Pursuant to Section 309(b) of the CWA, 33 U.S.C. § 1319(b), notice of the

commencement of this action has been given to the State.

         11.      The State of Idaho is named as a Defendant in this action in order to satisfy the

requirement of Section 309(e) of the CWA, 33 U.S.C. § 1319(e), that the State be joined as a

party.

                      STATUTORY AND REGULATORY BACKGROUND
                                  Clean Water Act

         12.      The objective of the CWA is to “restore and maintain the chemical, physical, and

biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). The CWA establishes a

national goal to eliminate the discharge of pollutants into navigable waters. 33 U.S.C.

§ 1251(a)(1).

         13.      Section 301(a) of the CWA, 33 U.S.C. § 1311(a), prohibits the “discharge of any

pollutant by any person” except, inter alia, in compliance with a NPDES permit issued by EPA

or an authorized state pursuant to Section 402 of the CWA, 33 U.S.C. § 1342.

         14.      The term “person” is defined to include municipalities with jurisdiction over

disposal of sewage, industrial wastes, or other wastes. 33 U.S.C. § 1362(4), (5).

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       15.     Section 502(12) of the CWA, 33 U.S.C. § 1362(12), defines “discharge of a

pollutant” to include any addition of any pollutant to navigable waters from any point source.

       16.     Section 502(6) of the CWA, 33 U.S.C. § 1362(6), defines “pollutant” to include

sewage, sewage sludge, and industrial and municipal waste.

       17.     Section 502(7) of the CWA, 33 U.S.C. § 1362(7), defines “navigable waters” as

“the waters of the United States, including the territorial seas.” “Waters of the United States” has

been further defined to include, among other things, waters which are currently used, were used

in the past, or may be susceptible to use in interstate or foreign commerce, and tributaries of such

waters. 40 C.F.R. § 122.2 (1993) and 40 C.F.R. § 120.2 (2020).

       18.     Section 502(14) of the CWA, 33 U.S.C. § 1362(14), defines a “point source” as

“any discernable, confined and discrete conveyance . . . from which pollutants are or may be

discharged.”

       19.     Section 402 of the CWA, 33 U.S.C. § 1342, provides authority for the

Administrator to issue NPDES permits for the discharge of any pollutant, consistent with other

provisions of the CWA. Such permits allow the discharge of pollutants by any person into the

waters of the United States subject to the terms and conditions set forth therein.

       20.     Section 402(a)(2) of the CWA, 33 U.S.C. § 1342(a)(2), directs the Administrator

to prescribe conditions for NPDES permits to assure compliance with specified provisions of the

CWA. Such conditions include effluent limits, sampling requirements, and reporting

requirements. 33 U.S.C. § 1311, 1318, 1342(a)(2).




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       21.     Effluent limitations, as defined in Section 502(11) of the CWA, 33 U.S.C.

§ 1362(11), are restrictions on quantity, rate, and concentration of chemical, physical, biological,

and other constituents that are discharged from point sources.

       22.     Section 402(b) of the CWA, 33 U.S.C. § 1342(b), provides that a state may

establish its own permit program, and after receiving EPA approval of its program, may issue,

administer, and enforce NPDES permits within its jurisdiction.

       23.     On June 5, 2018, EPA approved the State of Idaho’s application to administer and

enforce the NPDES program in the State. EPA retains concurrent enforcement authority pursuant

to Section 402(i) of the CWA, 33 U.S.C. § 1342(i).

       24.     Section 309(b) of the CWA, 33 U.S.C. § 1319(b), authorizes the Administrator to

commence a civil action to obtain appropriate relief, including a permanent or temporary

injunction, when any person violates Section 301 of the CWA, 33 U.S.C. § 1311, any condition

or limitation in a NPDES permit issued pursuant to Section 402 of the CWA, 33 U.S.C. § 1342,

or any order issued pursuant to CWA Section 309(a), 33 U.S.C. § 1319(a). The United States

Department of Justice has authority to bring this action on behalf of EPA pursuant to Section 506

of the CWA, 33 U.S.C. § 1366.

       25.     Under Section 309(d) of the CWA, 33 U.S.C. § 1319(d), together with the Federal

Civil Penalties Inflation Adjustment Act of 1990, as amended by the Debt Collection

Improvement Act of 1996, 28 U.S.C. § 2461, and 40 C.F.R. § 19.4, any person who violates

Section 301 of the CWA, 33 U.S.C. § 1311, or any condition or limitation contained in a NPDES

permit issued pursuant to Section 402 of the CWA, 33 U.S.C. § 1342, shall be subject to a civil

penalty not to exceed $59,973 per day for each violation that takes place after November 2,

2015. See 87 Fed. Reg. 1676 (Jan. 12, 2022).



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                                 GENERAL ALLEGATIONS

       26.     The WWTP and Sewage Collection System constitute a “treatment works” within

the meaning of Sections 502(26) and 212(2)(A) of the CWA, 33 U.S.C. §§ 1362(26) and

1292(2)(A), and a “publicly owned treatment works” (“POTW”), within the meaning of 40

C.F.R. § 122.2 and 403.3(q).

       27.     At all times relevant to this Complaint, the City was authorized to discharge

wastewater from the WWTP to navigable waters from an outfall identified as Outfall 001 in the

City’s NPDES Permit No. ID-0020141 (“NPDES Permit”).

       28.     The NPDES Permit was issued by EPA on November 4, 2010, pursuant to

Section 402 of the CWA, 33 U.S.C. §1342, and became effective on January 1, 2011. The

NPDES Permit expired on December 31, 2015. Because the City timely applied for renewal of

its NPDES Permit, the NPDES Permit was administratively extended on October 14, 2015,

pursuant to 40 C.F.R. § 122.6, until the effective date of the new NPDES Permit issued by

IDEQ. In accordance with 40 C.F.R. § 122.6(b), the NPDES Permit remains fully effective and

enforceable.

       29.     Outfall 001 is a “point source” within the meaning of Section 502(14) of the

CWA, 33 U.S.C. § 1362(14).

       30.     Woods Creek, the Teton River, Henry’s Fork, the Snake River, and the Columbia

River constitute “navigable waters” and “waters of the United States” within the meaning of

Section 502(7) of the CWA, 33 U.S.C. § 1362(7), and 40 C.F.R. § 122.2 (2020).

       31.     The NPDES Permit also establishes monitoring, sampling, and reporting

requirements, including the monthly submission of discharge monitoring reports (“DMRs”) to




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the permitting authority, which summarize discharge monitoring data and indicate

noncompliance with effluent limits.

       32.    Discharges from the WWTP are subject to the requirements of City’s NPDES

Permit. The City’s NPDES Permit contains effluent limitations prohibiting discharges of

specified pollutants in excess of numeric monthly average, daily maximum, annual total,

instantaneous minimum/maximum, and/or daily minimum limits.

                              FIRST CLAIM FOR RELIEF
             (Violations of NPDES Permit Conditions on Effluent Limitations)
       33.    Paragraphs 1 through 32 are incorporated by reference as if fully set forth below.

       34.    During all times relevant to this Complaint, the NPDES Permit required

compliance with the following limitations on discharges from Outfall 001:

              a.      Biochemical oxygen demand (BOD5) shall not exceed a monthly average

                      load of 225 pounds per day, and average monthly concentration limit of 45

                      mg/L;

              b.      E. Coli shall not exceed an instantaneous maximum colony count of

                      406/100 mL per sample;

              c.      Total Ammonia as N shall not exceed a daily maximum load of 8.4

                      pounds per day, a maximum daily concentration of 1.68 mg/L, a monthly

                      average load of 4.2 pounds per day, and an average monthly concentration

                      of .84 mg/L; and

              d.      Instantaneous minimum pH in effluent from Outfall 001 shall not be less

                      than 6.5 standard units.

       35.    On various days within the past five years, the City discharged effluent from

Outfall 001 that did not comply with the NPDES Permit’s effluent limitations. A list of the


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discharges reported in the City’s DMRs that are in violation of the effluent limitations from the

period of July 1, 2017 to September 30, 2021 is attached as Appendix A.

       36.     Each violation of a permit condition is a separate violation of the NPDES Permit

issued under Section 402 of the CWA, 33 U.S.C. § 1342, as is each day of discharge.

       37.      Unless enjoined by the Court, the City’s violations are likely to continue.

       38.     Pursuant to 33 U.S.C. § 1319(b) and (d), and 40 C.F.R. § 19.4, the City is liable

for civil penalties not to exceed $59,973 per day for each violation that takes place after

November 2, 2015.

                               SECOND CLAIM FOR RELIEF
               (Violations of NPDES Permit Conditions on Sample Collection)

       39.     Paragraphs 1 through 32 are incorporated by reference as if fully set forth below.

       40.     During all times relevant to this Complaint, the NPDES Permit required at least

five grab samples of effluent from Outfall 001 per month to monitor for E. coli, with at least

three to seven days between the collection of each sample.

       41.     On various days within the past five years, the City failed to sample the effluent

from Outfall 001 for E. coli at the frequency required by the NPDES Permit. For example, in

September 2020, the City collected five samples during two sampling events and failed to wait

the required three to seven days between the collection of each sample.

       42.     Each violation of a permit condition is a separate violation of the NPDES Permit

issued under Section 402 of the CWA, 33 U.S.C. § 1342.

       43.     Unless enjoined by the Court, the City’s violations are likely to continue.

       44.     Pursuant to 33 U.S.C. § 1319(b) and (d), and 40 C.F.R. § 19.4, the City is liable

for civil penalties not to exceed $59,973 per day for each violation that takes place after

November 2, 2015.

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                             THIRD CLAIM FOR RELIEF
          (Violations of NPDES Permit Conditions on EPA approved QA/QC and
                             Chain of Custody Procedures)

       45.     Paragraphs 1 through 32 are incorporated by reference as if fully set forth below.

       46.     During all times relevant to this Complaint, the NPDES Permit required the City

to follow EPA-approved quality assurance/quality control (“QA/QC”) and chain-of-custody

procedures described in Requirements for Quality Assurance Project Plans (EPA/QA/R-5) and

Guidance for Quality Assurance Project Plans (EPA/QA/G-5).

       47.     On various days within the past five years, the City failed to follow the EPA-

approved QA/QC and chain of custody procedures required by the NPDES Permit. For example

sampling records inspected in September 2020 lacked signature, date, and time when the samples

were relinquished to or accepted by the lab.

       48.     Each violation of a permit condition is a separate violation of the NPDES Permit

permit issued under Section 402 of the CWA, 33 U.S.C. § 1342.

       49.     Unless enjoined by the Court, the City’s violations are likely to continue.

       50.     Pursuant to 33 U.S.C. § 1319(b) and (d), and 40 C.F.R. § 19.4, the City is liable

for civil penalties not to exceed $59,973 per day for each violation which takes place after

November 2, 2015.

                              FOURTH CLAIM FOR RELIEF
                          (Violations of EPA Administrative Order)

       51.     Paragraphs 1 through 32 are incorporated by reference as if fully set forth below.

       52.     In 2018, EPA entered into a Consent Agreement and Final Order pursuant to

Section 309(g)(2)(B), 33 U.S.C. § 1319(g)(2)(B), with the City to resolve EPA’s claims for

3,722 violations of the NPDES Permit that occurred between November 2012 and June 2017.

The City and EPA also entered into a Compliance Order on Consent (“2018 Order”) pursuant to

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Section 309(a)(3), 33 U.S.C. § 1319(a)(3), to bring the City into compliance with the NPDES

Permit.

          53.   The 2018 Order, which became effective on April 26, 2018, required the City to:

                a.     Identify the modifications and corrective actions needed at the WWTP to

                       achieve compliance with the effluent limitations in the NPDES Permit

                       within 12 months of the effective date of the 2018 Order and provide

                       written notification to EPA of the identified modifications and corrective

                       actions;

                b.     Complete construction of any modification to the Facility and

                       implementation of any corrective action within 24 months of the effective

                       date of the 2018 Order and provide written notification to EPA; and

                c.     Achieve compliance with the effluent limits in the NPDES Permit within

                       24 months of the effective date of the 2018 Order and provide written

                       notice to EPA that the WWTP had achieved compliance with the effluent

                       limitations.

          54.   The City failed to implement any of the injunctive relief required by the 2018

Order by the required deadlines described above and, on information and belief, continues to

violate the NPDES Permit. On April 23, 2020, the City acknowledged that it would not meet the

deadlines required by the 2018 Order and requested an extension of the deadlines in the 2018

Order. EPA did not grant the requested extension. The City has been in violation of the 2018

Order since April 29, 2019.




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       55.     Any person who violates an order issued pursuant to section 309(a) of the CWA,

33 U.S.C. § 1319(a), is subject to civil penalties pursuant to Section 309(d) of the CWA, 33

U.S.C. § 1319(d).

       56.     Unless enjoined by the Court, the City’s violations are likely to continue.

       57.     Pursuant to 33 U.S.C. §§ 1319(b) and (d), and 40 C.F.R. § 19.4, the City is liable

for civil penalties not to exceed $59,973 per day for each violation that takes place after

November 2, 2015.

                                    PRAYER FOR RELIEF

               WHEREFORE, Plaintiff, the United States of America, respectfully requests that

the Court:

       1.      Pursuant to 33 U.S.C. § 1319(b) and (d), assess civil penalties against the City, as

permitted by law, up to the date of judgement herein;

       2.      Pursuant to 33 U.S.C. § 1319(b) and (d), enjoin the City from any and all ongoing

and future violations of the CWA by ordering compliance with the Act;

       3.      Pursuant to 33 U.S.C. § 1319(b), order the City to take all steps necessary to come

into permanent and consistent compliance with the NPDES Permit, the 2018 Order, and the

CWA;

       4.      Order the City to take all steps necessary to redress or mitigate the impact of the

City’s violations;

       5.      Award Plaintiff its cost of this action; and

       6.      Award such other and further relief, as the Court deems appropriate.




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                                 Respectfully submitted,


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